Case 24-90533 Document 372 Filed in TXSB on 12/10/24 Page 1 of 6
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Other Orders/Judgments
2:23-Cv-01224-AJS-PLD HENDERSON v, CORRECT CARE SOLUTIONS, INC. etal

USS. District Court
Western District of Pennsylvania
Notice of Electronic Filing

The following transaction was entered on 11/18/2024 at 3:32 PM EST and filed on 11/18/2024

- Case Name: HENDERSON v. CORRECT CARE SOLUTIONS, INC. et al
Case Number: 2:23-cv-01224-AJS-PLD
Filer:

WARNING: CASE CLOSED on 11/18/2024
Document Number: 68(No document attached}

Docket Text:
___. ORDER. On November 15, 2024, Wellpath Holdings, Inc. filed a Suggestion of Bankruptcy and Notice of _

Stay (ECF 67). Its filing states that on November 11, 2024, Wellpath Holdings, Inc., on behalf of other =”

identified debtors, including Wellpath, LLC (formerly known as Correct Care Solutions, LLC), filed a
petition for relief under Chapter 11 of the United States Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas. (In re Wellpath Holdings, Inc., No. 24-90533 (Bankr.
S.D. Tex.}} (ECF 67-1). Pursuant to Section 362(a) of the Bankruptcy Code, the petition operates as a stay

’ of all proceedings against the debtors. 11 U.S.C. 362(a). On November 12, 2024, the Bankruptcy Court
issued an Amended Interim Order Enforcing the Automatic Stay that stayed in their entirety all lawsuits
filed as of the Petition Date in which the debtor is named as one of the defendants, including the
plaintiffs claims against the non-debtor defendants, on an interim basis, pending a hearing scheduled
before the Bankruptcy Court on December 5, 2024, (ECF 67-2) Therefore, it is hereby ORDERED that this
action is temporarily STAYED and ADMINISTRATIVELY CLOSED pending further order of this Court.
Signed by Magistrate Judge Patricia L. Dodge on 11/18/2024. Text-only entry; no PDF document will
issue. This text-only entry constitutes the Order of the Court or Notice on the matter. (mqe}

2:23-cv-01224-AJS-PLD Notice has been electronically mailed to:
Benjamin M. Lombard blombard@wglaw.com, jdamon@wglaw.com
Samuel H. Foreman sforeman@wglaw.com, jdamon@welaw.com

~~ “JasorM: Logue jlogue@dimcpe:com; sartman@dmepe.com
2:23-cv-01224-AJS-PLD Filer must deliver notice by other means to:
ARTHUR L. HENDERSON
LD-3209
SCI FAYETTE

50 Overlook Drive
LaBelle, PA 15450

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